                  United States District Court for the Northern District of Illinois


       Case Number: 17cv1765                         Assigned/Issued By: JN

       Judge Name: Chang                             Designated Magistrate Judge: Kim


                                             FEE INFORMATION


   Amount Due:                $400.00             $46.00            $5.00

                              IFP                 No Fee                Other

                              $505.00

   Number of Service Copies                                Date:

                                       (For Use by Fiscal Department Only)

   Amount Paid:                                            Receipt #:

   Date Payment Rec’d:                                     Fiscal Clerk:


                                                  ISSUANCES

             Summons                                                Alias Summons

             Third Party Summons                                    Lis Pendens

             Non Wage Garnishment Summons                           Abstract of Judgment

            Wage-Deduction Garnishment Summons

       ✔    Citation to Discover Assets                                    (Victim, Against and $ Amount)


             Writ
                          (Type of Writ)


   1     Original and 1               copies on 6/27/2018          as to Wells Fargo Bank, N.A.
                                                      (Date)
  (NO NOTICE FILED) THIRD PARTY



G:\GDOCKET\OPERATIONS CLERK\Intake\FORMS                   10/01/2014
